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7                        UNITED STATES BANKRUPCY COURT
8         CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
9
10
11      In re:                                  Case No. 2:20-bk-21020-BR
12      THOMAS VINCENT GIRARDI,                 [Chapter 7]
13                      Debtor.
                                                OPPOSITION TO MOTION TO
14                                              APPOINT A GUARDIAN AD LITEM
15                                              Hon. Barry Russell
16                                              Date: February 16, 2021
                                                Time: 2:00 p.m.
17                                              Location: Courtroom 1668, via Zoom for
                                                Government
18                                              Web Address:
                                                https://cacb.zoomgov.com/j/[1604415586]
19                                              Meeting Number: [1604415586]
                                                Password: 123456
20
                                                Telephone conference lines for audio only:
21                                              1 (669) 254 5252 US (San Jose)
                                                1 (646) 828 7666 US (New York)
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      OPPOSITION TO MOTION TO APPOINT                          CASE NO. 2:20-BK-21020-BR
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1           Moving under Fed. R. Bankr. P. 1004.1, Interested Party Robert Girardi seeks
2     an order appointing him guardian ad litem of the debtor, his brother. (Dkt. 62.) The
3     motion is based on movant’s belief that the debtor is currently suffering from short-
4     term memory problems and cannot think rationally about the bankruptcy. The motion
5     should be denied.
6           Bankruptcy Rule 1004.1 provides for the appointment of a representative for
7     the debtor if he is incompetent at the time the petition is filed. See In re Maes, 616
8     B.R. 784 (D. Colo. 2020). Whether the debtor is incompetent is to be determined by
9     reference to state law. See id. at 797 (“Most bankruptcy courts willing to delve into
10    the issue have engaged in an assessment under state law. … Courts construing
11    analogous Fed. R. Civ. P. 17(c) also generally apply state law governing
12    incompetency.”); see also Shirley v. Orange County, No. 19-cv-2078, 2020 WL
13    7861978, at *2 (C.D. Cal. Sept. 25, 2020) (“The standard used to determine the
14    competency of a litigant is taken from the law of the litigant’s domicile.”). “‘In
15    California, a party is incompetent if he or she lacks the capacity to understand the
16    nature or consequences of the proceeding, or is unable to assist counsel in the
17    preparation of the case.’” Id. (quoting Golden Gate Way, LLC v. Stewart, No. 09-cv-
18    4458, 2012 WL 4482503, at *2 (N.D. Cal. Sept. 28, 2012)). “Federal courts in this
19    circuit have found that a broad range of evidence may inform the court's decision”
20    whether a litigant is incompetent. AT&T Mobility, LLC v. Yeager, 143 F. Supp. 3d
21    1042, 1050 (E.D. Cal. 2015).
22          Evidence of Mr. Girardi’s conduct over the last several months makes clear
23    that he is not incompetent. In mid-October of 2020, for instance, Mr. Girardi sat for
24    an interview, which is available at Daniel Forouzan, Tom Girardi - Schmoozin' with
25    Forouzan (Oct. 24, 2020), https://www.youtube.com/watch?v=nluZO-
26    BCiFQ&ab_channel=DanielForouzan. In this one-hour interview, the debtor
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1     discussed cogently and in detail several matters, for instance:
2         • A recent trial victory (starting at 00:45)
3         • His relationship with one of his earliest clients (starting at 2:10)
4         • Strategy for jury selection (starting at 6:00)
5         • How to deal with nervousness (starting at 19:09)
6         • How to alter trial strategy based on the reactions of jury members (starting at
7            21:36)
8         • Whether and how to use jury consultants (starting at 37:22)
9         • The use of demonstrative exhibits at trial (starting at 40:22)
10    As the Court can observe from the video, Mr. Girardi has a command of the facts,
11    and can remember events from both the recent and distant past. Moreover, Mr.
12    Girardi’s fluency with litigation matters undermines the movant’s contention that Mr.
13    Girardi is unable to appreciate the bankruptcy proceeding or assist lawyers.
14          Thomas Girardi also spoke at a panel on November 21, 2020, for the Consumer
15    Attorneys of California, on the topic of Strategies for Cross-Examination of Defense
16    Experts. See Schedule, 2020 CAOC Annual Convention, https://caoc-
17    convention.com/caoc-schedule. The undersigned is informed that his presentation is
18    in the same vein as the above-referenced video: cogent, detailed, and with good
19    command of the facts and his surroundings. (Video of the conference is available
20    only to conference attendees. Should the Court wish to observe Mr. Girardi’s
21    presentation to ascertain for itself whether he might be incompetent, we have every
22    reason to believe the conference would comply with an order from this Court.)
23          Mr. Girardi was also signing legal papers and swearing out declarations under
24    his own name at least as late as November 30, 2020. See Declaration of Thomas V.
25    Girardi, Selberg v. Girardi, et al., No. 20STCV41541 (L.A. Sup. Ct. Nov. 30, 2020).
26    And the undersigned was working with Mr. Girardi as co-counsel in a matter in
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1     federal court in Chicago and has found him to be aware of his conduct and its
2     consequences over the last several months. (See Declaration of Rafey Balabanian,
3     Attached as Exhibit A, ¶¶ 4-5.) The relationship soured when it became clear that Mr.
4     Girardi had misused client funds, but the undersigned’s communications with Mr.
5     Girardi during that time demonstrated that Mr. Girardi understood what he was doing,
6     that he needed to keep his co-counsel in the dark, and how he might accomplish that.
7     (Id.) His ability to further this deception is flatly inconsistent with the claim that he is
8     unable to understand this bankruptcy. In fact, it does not appear that anyone believed
9     that the Mr. Girardi’s competence might be an issue at all until he and his firm were
10    forced to answer allegations that he had embezzled or otherwise misused client funds
11    in connection with that lawsuit. (Id. ¶ 6.)
12           The motion to appoint Robert Girardi as guardian ad litem puts forth very little
13    contrary evidence. The movant’s declaration provides scant detail about the debtor’s
14    mental condition. The statements the movant does make, for instance that the debtor
15    appears to have short-term memory problems or think rationally about the
16    bankruptcy, are general, and sorely lacking in specifics. The declaration is not
17    supported with any medical documentation, or any other evidence by which the Court
18    could corroborate the movant’s bare assertions about the debtor’s mental state.
19    Moreover, the statements in the declaration are completely at odds with the debtor’s
20    public conduct over the last two months. They should not persuade the Court.
21           It would also appear that the movant has petitioned the state probate court to be
22    appointed conservator of the debtor’s estate (presumably on the same grounds
23    articulated in the present motion), and to have the petition considered on an
24    expediated basis. (Dkt. 62, Girardi Declaration, ¶ 10.) As the foregoing shows, that
25    petition is unlikely to be granted. In any event, it is, at the very least, prudent to let
26    the state process play out, rather than prematurely appointing a guardian ad litem
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1     here. The probate court has special expertise adjudicating such petitions, whereas
2     competence adjudications are relatively rare in bankruptcy court. See In re Sniff, No.
3     15-8086, 2015 WL 7351477, at *3 (Bankr. D. Colo. Oct. 6, 2015) (“Incompetency
4     determinations are not a common exercise of bankruptcy courts.”); In re Petrano, No.
5     13-10052, 2013 WL 6503672, at *2 (Bankr. N.D. Fla. Apr. 16, 2013) (“This Court
6     has found no statutory authority for making an initial finding or determination of
7     whether or not a debtor may be ‘incompetent.’ Bankruptcy courts are not designed or
8     equipped to make such determinations.”). Some bankruptcy courts faced with similar
9     requests have opted to defer to state court process. See Petrano, 2013 WL 6503672,
10    atid. at *4. Other courts have only labeled debtors incompetent with the benefit of
11    such a state court determination, or in otherwise extreme circumstances. See In re
12    Whitehead, No. 05-50136, 2005 WL 1819399, at *2 (Bankr. M.D.N.C. July 22, 2005)
13    (“accept[ing] the findings” of a state court that the debtor was incompetent); In re
14    Moss, 239 B.R. 537, 541 (Bankr. W.D. Mo. 1999) (following district court finding
15    that debtor was unable to understand the circumstances of her criminal trial).
16          Given the significant consequences of a finding of incompetence, the Court
17    should endeavor to avoid inconsistent rulings with the state court on the issue. And
18    given the state court’s special expertise and fact-finding power, it makes sense to
19    defer to that proceeding. The probate court petition will trigger an investigation into
20    the debtor’s ability to handle his own affairs. See Cal. Probate Code § 1826. If the
21    state court concludes that appointment of Robert Girardi as conservator is
22    appropriate, he will then have the ability to act on behalf of the debtor with respect to
23    his financial affairs, including as the movant points out, to hire lawyers in this
24    bankruptcy process, and no harm will be done. But if the Court appoints a guardian
25    here, and the state court later determines that the debtor is able to direct his own
26    financial affairs, it would significantly disrupt this proceeding.
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1           Therefore, the Court should deny the motion to appoint Robert Girardi as
2     guardian ad litem in this case. The movant is advised that any reply to this response
3     must be filed and served no later than 7 days prior to the hearing on the motion. See
4     Local Bankruptcy Rule 9013-1(f)(2).
5
6                                            Respectfully submitted,
7                                            EDELSON PC,
8
      Dated: January 19, 2021                By: /s/ Rafey S. Balabanian
9
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                        Exhibit A
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5     Counsel for Interested Party Edelson PC
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7                       UNITED STATES BANKRUPCY COURT
8         CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
9
10
11      In re:                                  Case No. 2:20-bk-21020-BR
12      THOMAS VINCENT GIRARDI,                 [Chapter 7]
13                     Debtor.
                                                DECLARATION OF RAFEY S.
14                                              BALABANIAN
15                                              Hon. Barry Russell
16                                              Date: February 16, 2021
                                                Time: 2:00 p.m.
17                                              Location: Courtroom 1668, via Zoom for
                                                Government
18                                              Web Address:
                                                https://cacb.zoomgov.com/j/[1604415586]
19                                              Meeting Number: [1604415586]
                                                Password: 123456
20
                                                Telephone conference lines for audio only:
21                                              1 (669) 254 5252 US (San Jose)
                                                1 (646) 828 7666 US (New York)
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      DECLARATION OF                                            CASE NO. 2:20-BK-21020-BR
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1        I, Rafey S. Balabanian, declare as follows:
2           1.     I am Managing Partner at Edelson PC, and admitted to practice in
3     California and Illinois. This declaration is based on my personal knowledge, unless
4     otherwise indicated. If called upon to testify as to the matters attested to herein, I
5     could and would competently do so.
6           2.     My firm was co-counsel with the debtor’s firm, Girardi Keese,
7     representing several clients in the matter of In re Lion Air Flight 610, No. 18-cv-
8     7686, in the United States District Court for the Northern District of Illinois.
9           3.     In March of last year, after we reached settlements on behalf of our
10    clients, we became concerned that although the defendant had funded the settlement,
11    Mr. Girardi and his firm had not disbursed the funds to our clients. Ultimately, we
12    were forced to move the court for an order to show cause why Mr. Girardi and his
13    firm should not be held in contempt, which we did on December 2, 2020.
14          4.     In hindsight, it became clear to us that Mr. Girardi was engaged in a
15    sophisticated scheme to use client funds for improper purposes, such as to pay off his
16    own creditors. His communications with us in the months before we filed our show
17    cause motion were calculated to further that scheme. He regularly demonstrated a
18    command of the facts, and when we inquired about when our clients would receive
19    their settlement monies, he regularly provided enough assurances to convince us that
20    more drastic action was unnecessary, but remained general enough to avoid
21    committing himself to any course of action. I take from these conversations that Mr.
22    Girardi was well aware of what he was doing, and that it was wrong.
23          5.     After we filed our motion, Mr. Girardi continued to contact the firm, in
24    an apparent effort to resolve the matter without a contempt proceeding. The
25    communications, which occurred in December 2020, further showed that Mr. Girardi
26    understood the nature and consequences of his actions, and continued to demonstrate
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      DECLARATION OF                                               CASE NO. 2:20-BK-21020-BR
                                                   2
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1     a command of the facts of the litigation. For instance, when questioned he knew
2     exactly how much each client was owed. And he continued to offer excuses for why
3     the clients hadn’t been paid that were obviously a farce, but not fantastical or
4     disconnected from reality. During one call, we made clear to Mr. Girardi that we
5     believed he had lied to us, and he abruptly ended the call. My impression was that he
6     understood that he could no longer string us along, and he responded accordingly.
7           6.     During this time I also had discussions with some of Mr. Girardi’s law
8     partners. Consistent with my impressions, no one raised the possibility that Mr.
9     Girardi might be suffering from any issues that would prevent him from
10    understanding the litigation or anything else. In fact, to my knowledge, this
11    possibility was not raised until Mr. Girardi hired counsel and was faced with the
12    possibility of criminal charges for his conduct.
13          I declare under penalty of perjury under the laws of the State of California that
14    the foregoing is true and correct and that this Declaration was executed on this 15th
15    day of January, 2021, in Highlands Ranch, Colorado.
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      DECLARATION OF                                              CASE NO. 2:20-BK-21020-BR
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